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UNITED STATES BANKRUPTCY COURT
DISTRICT OF MASSACHUSETTS

(CENTRAL DIVISION)
In re:
SOUTHERN SKY AIR & TOURS, LLC Chapter 7
d/b/a DIRECT AIR, Case No. 12-40944-MSH
Debtor.

TRUSTEE’S NOTICE OF ABANDONMENT OF ESTATE PROPERTY
(Re: Claims Against Sky King, Inc.)

To the Honorable Melvin S. Hoffman, United States Bankruptcy Judge:

Pursuant to 11 U.S.C. § 554(a), Rule 6007 of the Federal Rules of Bankruptcy Procedure,
and MLBR 6007(1)(b), Joseph H. Baldiga, the Chapter 7 trustee (the “Trustee”’) of the
bankruptcy estate (the “Estate”’) of Southern Sky Air & Tours, LLC d/b/a Direct Air (the
‘Debtor”), hereby gives notice of his intention to abandon (the “Notice of Abandonment”) any
and all of the Estate’s interest in claims against Sky King, Inc. (“Sky King”) which are described
herein and more fully identified in the Proof of Claim attached hereto as Exhibit A (the “Sky
King Claims”). In support hereof, the Trustee submits the following:

I. BACKGROUND

A, Bankruptcy Case Background.

1. On March 15, 2012 (the “Petition Date”), the Debtor filed a petition for relief
under Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101-1532 (the
“Bankruptcy Code”).

2. Prior to the Petition Date, the Debtor operated as a low cost discount charter

airline that flew various routes in the United States,

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3. On April 11, 2012 (the “Conversion Date”), this Court converted the Debtor’s
Chapter 11 case to one under Chapter 7 of the Bankruptcy Code.

4. On the Conversion Date, the United States Trustee appointed the Trustee as
Chapter 7 trustee of this proceeding and he continues to serve as such.

5, Since his appointment, the Trustee has investigated many preferential and/or
fraudulent transfers made by the Debtor prior to the Petition Date. As part of his investigation,
the Trustee identified certain potential claims against Sky King (i.e., the Sky King Claims). The
Sky King Claims include: (a) a potential preference claim in the amount of $2,619,703.63 and
(b) a potential receivable in the amount of $82,701.38.

6. After identifying the Sky King Claims, the Trustee filed the attached Proof of
Claim in the Sky King Bankruptcy Case (defined and discussed below) as evidence of the Sky
King Claims.

7. Sky King filed its own Proof of Claim in the Debtor’s bankruptcy case, asserting
a claim against the Debtor in an amount exceeding $4.6 million.

B. The Sky King Bankruptcy.

8. On August 31, 2012, Sky King filed a petition for relief under Chapter 11 of the
Bankruptcy Code in the U.S. Bankruptcy Court for the Eastern District of California,
commencing Case No. 12-35905 (the “Sky King Bankruptcy Case”).

9, Prior to its bankruptcy filing, Sky King offered private jet chartering services and
frequently contracted with the Debtor to provide such services.

10. A Chapter 11 trustee (the “Sky King Trustee”) was appointed to serve in the Sky

King Bankruptcy Case on or about February 18, 2014.

1 The receivable was listed on the Sky King debtor’s Schedule F.

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11. Onor about August 6, 2014, the Sky King Trustee filed a Disclosure Statement
and Plan in the Sky King Bankruptcy Case. As discussed in the Disclosure Statement, the
purpose of the Plan was not truly to reorganize but, rather, to effect the transfer of Sky King’s
FAA license.” The Plan was to be funded by the $500,000 purchase price of the FAA license,
cash in the Debtor’s bank accounts, and litigation proceeds. In the Disclosure Statement and
Plan, the Sky King Trustee was forthcoming about the underfunding of the Plan, recognizing that
secured and administrative creditors would need to accept less than the full value of their claims
in connection with the Plan. Pursuant to the Plan, holders of unsecured claims will receive a pro
rata share of remaining proceeds from post-confirmation liquidation of assets, but only after
payment of all post-confirmation expenses and payment of all claims with higher priority.
Notably, the claims register in the Sky King Bankruptcy Case reflects total claims against Sky
King in excess of $84 million, including a (disputed) secured claim of $2 million and priority
claims in excess of $9.3 million. Chapter 11 administrative expenses prior to the Sky King
Trustee’s appointment exceed $6 million.

12. The Plan in the Sky King Bankruptcy Case was confirmed on September 24,
2014.

13. Counsel to the Trustee has spoken with the Sky King Trustee on various
occasions since his appointment, and the Sky King Trustee has consistently represented that
distribution on account of unsecured creditors’ claims is improbable.

Il. ABANDONMENT

14. As outlined above, the confirmed Plan in the Sky King Bankruptcy Case is

significantly underfunded. It is highly unlikely that there will ever be sufficient funds to pay

Apparently, an FAA license may only be transferred through a transfer of equity, and cannot be transferred via
a Bankruptcy Code § 363 sale or a Chapter 7 liquidation.

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higher priority claims in full, let alone to make any distribution to unsecured creditors in the Sky
King Bankruptcy Case.

15. Further, even if a distribution were possible, it is likely that Sky King would have
some defenses to the Sky King Claims, as evidenced by the $4.6 million Proof of Claim that Sky
King filed in Direct Air’s bankruptcy case. The costs of defending a claim objection or
otherwise litigating the Sky King Claims would certainly outweigh the value of any possible
distribution.

16. Moreover, the Trustee does not anticipate that he will make any distribution to
general unsecured creditors in Direct Air’s bankruptcy case. Therefore, pendency of the Proof of
Claim that Sky King filed will have no impact on the Direct Air bankruptcy case.

17. Based on the foregoing, the Trustee has determined that the Sky King Claims are
uncollectable, burdensome, and of inadequate or insufficient value to benefit the Estate. They
are no longer necessary to the administration of the Estate and, indeed, continuing to monitor the
Sky King Claims would be burdensome to the Estate.

18. Accordingly, the Trustee believes that the cost of pursuing the Sky King Claims
would outweigh any possible recovery and has determined that no value to the Estate is likely to
be realized with respect to the Sky King Claims. He therefore believes and avers that it is in the
best interest of the Estate that he be allowed to abandon the Sky King Claims without further
notice or hearing.

Please be advised that objections to this Notice of Abandonment must be filed in the
Clerk’s Office, United States Bankruptcy Court, Harold Donahue Federal Building, 595
Main Street, Worcester, Massachusetts 01608, to be received within fourteen (14) days of

February 4, 2015, with copies mailed within such time to the Chapter 7 Trustee, Joseph H.

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Baldiga, Mirick, O’Connell, DeMallie & Lougee, LLP, 100 Front Street, Worcester,
Massachusetts 01608. Pursuant to Federal Rule 6007(a), if no such objections are received
within fourteen (14) days hereof, the within Trustee’s Notice of Abandonment of Estate
Property shall be final and binding upon all parties without further notice, hearing or
order from the Court.

Respectfully submitted,

JOSEPH H. BALDIGA,
CHAPTER 7 TRUSTEE

By his counsel,

/s/ Gina Barbieri O'Neil

Joseph H. Baldiga, BBO #549963

Gina Barbieri O’Neil, BBO #670596

Mirick, O’ Connell, DeMallie & Lougee, LLP

1800 West Park Drive, Suite 400

Westborough, MA 01581

Phone: 508.898.1501

Fax: 508.898.1502

. Email: bankrupt@mirickoconnell.com

Dated: February 4, 2015 Email: goneil@mirickoconnell.com

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EXHIBIT A
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Document

FORM B10 (Official Form 10). 2/))

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UNITED STATES BANKRUPTCY COURT Eastern District of California

PROOF OF CLAIM

Name of Debtor: Sky King, Inc. Case Number
12-35905 F | LED
U.S. Bankruptcy Court
Eastern District of CA
NOTE: Do not use this form to make a claim for an administrative expense that arises after the bankruptey filing, .
You may file a request for payment of an administrative expense according to 11 U.S.C. § 503. Wayne Blackwelder, Clerk
, . 1/14/20
Name of Creditor (the person or other entity to whom the debtor owes money or property): tanarora
Joseph Baldiga, Ch 7 Truste of Southern Sky Air &Tours d/b/a Direct Alr
COURT USE ONLY

Name and address where notices should be sent:
Joseph H, Baldiga, Esq.

Mirick, O'Connell, DeMallie &Lougee, LL
1800 West Park Drive

Suite 400

Westborough, MA 01581

Telephone number:508-791-8500 email:jbaldiga@mirickoconn

(0 Check this box if this claim amends a
previously filed claim,

Court Claim Number:
(Of known)

Filed on:

Name and address where payment should be sent (if different from above):

Telephone number: email:

(Check this box if you are aware that anyone
else has filed a proof of claim relating to this
claim, Attach copy of statement giving
particulars,

1. Amount of Claim as of Date Case Filed: $_2702405.01

If all or part of the claim is secured, complete item 4.

If all or part of the claim is entitled to priority, complete item 5,

(21 Check this box if the claim includes interest or other charges in addition to the principal amount of the claim, Attach a statement that itemizes interest or charges.

2. Basis for Claim:
(See instruction #2)

See attachments

3, Last four digits of any number

3a, Debtor may have scheduled account as:
by which creditor Identifies debtor; :

3b, Uniform Clatm Identifier (optional):

— (See instruction #3a)

(See instruction #3b)

4, Secured Claim
(See instruction #4)
Check the appropriate box if the claim is secured by a lien on property or a right of

Annual Interest Rate: % (1) Fixed or [] Variable
(when case was filled)

Amount of arrearage and other charges, as of the time case was filed,
included in secured claim, if any:

setoff, attach required redacted documents, and provide the requested information. $
Nature of property or right of setoff: (] Real Estate (1 Motor Vehicle [] Other
Describe: Basis for perfection:

Amount of Secured Claim: $
Value of Property: $

Amount Unsecured: $

the box specifying the priority and state the amount.

CJ Domestic support obligations undér 11 (J Wages, salaries, or commissions (up to $11,725*)

U.S.C, §507(a)(1)(A) or (a)(1)(B), earned within 180 days before the case was filed or the
: debtor's business ceased, whichever is earlier —

1EUS.C, §507(a)(4).

CJ Up to $2,600* of deposits toward —

purchase, lease, or rental of property or
services for personal, family, or houschold
use ~ 11 U.S.C, § 507(a)(7).

(2 Taxes or penalties owed to governmental units —
11 U.S.C.§ 507(a)(8).

employee benefit pe - $

5, Amount of Claim Entitled to Priority under 11 U.S.C, §507(a). If any part of the claim falls into one of the following categories, check

(2) Contributions to an Amount entitled to priority:

IL U.S.C, § 507(a)(5).

(J Other ~ Specify

applicable paragraph of
yo.

11 U.S.C, §507(a

* Amounts are subject to adjustment on 4/1/13 and every 3 years thereafter with respect to cases commenced on or after the date of adjustment.

6. Credits, The amount of all payments on this claim has been credited for the purpose of making this proof of claim. (See instruction #6)

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7, Documents: Attached are redacted copies of any documents that support the claim, such as promissory notes, purchase ordets, invoices, itemized statements of running

accounts, contracts, judgments, mortgages, and security agreements, If the claim is secured, box 4 has been completed, and redacted copies of documents providing evidence of
perfection of a security interest are attached. (See instruction #7, and the definition of "redacted",)

DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER SCANNING.

If the documents are not available, please explain;

8, Signature: (See instruction 8)

Check the appropriate box.

1am the creditor. [3 Lam the creditor's authorized agent. C1 Lam the trustee, or the debtor, (J Tam a guarantor, surety, indorser, or other codebtor,

(Attach copy of power of attomey, ifany.) or their authorized agent, (See Bankruptcy Rute 3005.)
: (See Bankruptcy Rule 3004,)

I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge, information, and reasonable belief.

Print Name: __dosenh H. Baldiga
Title: Ch, 7 Trustee of Direct Ale
Company;

Mirlck O'Connell DeMallie &L.o

Address and telephone number (if different from notice address above):

Telephone number: email;

Penalty for presenting fraudulent claim; Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C, §§ 152 and 3571.

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Attachment to Proof of Claim

Sky King, Inc, d/b/a Sky King Airlines, Debtor
Joseph H, Baldiga, Chapter 7 Trustee of the Bankruptcy Estate of |
Southern Sky Air & Tours, LLC d/b/a Direct Air, Creditor

' Joseph H, Baldiga is the duly appointed, qualified, and acting Chapter 7 trustes (the “Trustee”’)
of the bankruptoy estate of Southern Sky Air & Tours, LLC d/b/a Direct Air (“Direct Air”),
Direct Air’s Chapter 7 bankruptcy is proceeding before the United States Bankruptcy Court for
the District of Massachusetts, Central Division, Case No, 12-40944-MSH, The Trustee is in the
process of liquidating Direct Air’s assets, ‘Sky King, Ino. d/b/a Sky King Airlines (the “Debtor”)
‘is a creditor of Direct Air and Direct Air may have claims against the Debtor, The Trustee is in
the process of liquidating Direct Air's claims against the Debtor and has determined that the
Debtor received payments from Direct Air in the amount of $2,619,703,63 within ninety (90)
days of commencement of the Direct Air bankruptoy case (the “Preference Payments”) attd is in
the process of determining whether or not the Preference Payments are recoverable, A listing of
the Preference Payments is attached hereto, Additionally, Direct Air is a creditor of the Debtor
and is owed the amount of $82,701.38 as noted on the Debtor's Schedule F ~ Page 71, a copy of
which is attached hereto, As moro information is determined, the Trustes reserves the right to
amend this proof of claim as appropriate. oo

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BB6P (Offltel Powmn GF) «(12/07)» Cont,

int: SKY KING, ING. CargNo, 12-39905 ~ Cell
Debtor ‘

SCHEDULE F- CREDITORS HOLDING UNSECURED NON-PRIORITY CLAIMS
+ Continuation Sheet)

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AND MAILING ADDRESS
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AND ACCOUNT NUMBER
(See instructions-above.)

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HUSBAND, WIFE, JOINT

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Attn: Corporate Officer
2051 Royal Ave

Simi Valley, CA 93065

Mpower Comm-Back Warehouse For Notice Purposes Only $0.00
Attn: Corporate Officer :

PO Box 60767

Los Angeles, CA 90060-0767

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Nassau The Bahamas

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Attn: Corporate Officer

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